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                          EXHIBIT A
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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION


     THE STATE OF TEXAS, et al.,                       §
                                                       §
           Plaintiffs,                                 §
     v.                                                §
                                                       §         Civil Action No. 4:20-cv-00957-SDJ
     GOOGLE LLC,                                       §
                                                       §
           Defendant.                                  §
                    DEFENDANT GOOGLE’S SUPPLEMENTAL BRIEFING
                        IN SUPPORT OF ITS RULE 12(b)(1) MOTION

          Plaintiffs’ Surreply laments Google being “confused” and “its protracted and unnecessary

 account of the litigation to date.” And yet, following Google’s Reply, all Plaintiffs changed

 remedies horses again, this time narrowing the remedies they seek for their state DTPA claims to

 civil penalties and injunctive relief.1

          This is no accident. Plaintiffs’ continued retreat from remedies that would necessitate

 proof of quantifiable harm is a direct product of what Plaintiffs have not alleged and could never

 prove: concrete, cognizable Article III injury. They assert only at the highest level of generality,

 harm to state economies without identifying a single actual in-state victim to support a claim for

 civil penalties under state DTPAs and an injunction.2 In dropping monetary remedies for DTPA

 violations, Plaintiffs effectively concede that they are relying on either the statutory violation

 alone or vague allegations of generalized harm to unspecified citizens. Neither is sufficient.



 1
    Puerto Rico may not seek civil penalties. See 10 L.P.R.A. § 269 (remedies do not include civil
 penalties).
 2
   Plaintiffs, of course, “must demonstrate standing separately for each form of relief sought.” Friends of
 the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 185 (2000).
                                                           1
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        Sixteen Plaintiffs seek civil penalties under state DTPAs, without furnishing proof of

 actual harm to consumers. See App’x A.

        A public DTPA enforcement action does not require . . . injury, damages, [or]
        identification of specific victims . . . . That fully explains why the FAC does not
        lay out “harm to specific parties” or “identify any specific in-state alleged victim
        on whose behalf they seek to recover.”

 ECF No. 260 (Opp’n to Google’s Mot. to Dismiss) at 8. Having amended interrogatory responses

 five times, Plaintiffs still identify no in-state consumers that have been concretely harmed, let

 alone what damages any hypothetical victim has suffered. See Plfs.’ 6th Am. Resps. to Google’s

 First Set of Rogs. at 73–74 (Apr. 11, 2024) (stating only that “publishers and advertisers located

 in each of the Plaintiff States suffered harm” due to Google’s conduct).

        But Article III demands more. In TransUnion v. Ramirez, 594 U.S. 413 (2021), a class

 sought statutory damages for violations of the federal Fair Credit Reporting Act. Id. at 419–21.

 Thousands sought to enforce the law against the defendant, and recover statutory damages in the

 process, but many could not point to any harm from the statutory violations. Id. at 427–48, 439.

 The TransUnion Court held that those plaintiffs lacked standing: “[A]n injury in law is not an

 injury in fact.” Id. at 427. Plaintiffs had to assert more, such as tangible economic, emotional, or

 reputational harm stemming from the violations. Id. at 437. If Congress had the power to enact

 new harms into existence, “virtually any citizen [could] bring a statutory damages suit against

 virtually any defendant who violated virtually any federal law.” Id. at 428.

        TransUnion confirms that Plaintiffs may not proceed in federal court without alleging

 concrete harm, even if a statute provides for a right of action and penalties. This principle applies

 here. They too must meet “the ordinary demands of Article III.” Harrison v. Jefferson Par. Sch.

 Bd., 78 F.4th 765, 769 (5th Cir. 2023) (cite omitted). Moreover, concerns about legislative




                                                      2
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 overreach are even stronger because it is not Congress attempting to open up federal courts to

 unharmed plaintiffs, but state lawmakers.

        First, as Google previously explained, Plaintiffs have no sovereign standing since there

 has been no “actual or threatened interference” with a state’s authority to enforce its own law.

 Harrison, 78 F.4th at 771.

        Second, a pure statutory violation cannot support parens patriae standing, which requires

 (1) “a quasi-sovereign interest that is sufficiently concrete to create an actual controversy

 between the State and the defendant and (2) [an] injury to that interest affects a sufficiently

 substantial segment of the state’s population.” Id. at 772 (cleaned up) (cite omitted). To satisfy

 these requirements, “the citizens of the State asserting parens patriae standing must have

 suffered—or be threatened with—concrete injury.” Utah Div. of Consumer Prot. v. Stevens, 398

 F. Supp. 3d 1139, 1145 (D. Utah 2019). “[T]he mere assertion of a state interest, untethered from

 injury to the State’s citizens, cannot support parens patriae standing—even if that interest might

 qualify as a quasi-sovereign interest if accompanied by such injury.” Id.

        In sum, Plaintiffs must allege that a meaningful number of in-state victims sustained

 concrete damages or injury. They do not and cannot. The TransUnion Court rejected a theory

 that statutory violations alone confer standing on unharmed plaintiffs to recover monetary

 penalties. This Court should likewise conclude that statutory violations alone without alleged

 concrete injury to citizens does not confer Article III standing on Plaintiffs.

                                           CONCLUSION

        For these reasons, the Court should dismiss the federal and state claims because Plaintiffs

 cannot meet Article III standing requirements in their sovereign or parens patriae capacities.




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Dated: April 15, 2024                         Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

        I certify that on April 15, 2024, this document was filed electronically in compliance with
 Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per
 Local Rule CV-5(a)(3)(A).
                                                      /s/ R. Paul Yetter
                                                      R. Paul Yetter




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                                       Appendix A


                               State Law DTPA Statutes


 Alaska          “Actual injury as a result of [] deception is not required.” State v. O’Neill
                 Investigations, Inc., 609 P.2d 520, 534 (Alaska 1980).

 Arkansas        “[R]eliance[] and damages are conspicuously missing from the elements
                 of the ADTPA.” Pleasant v. McDaniel, 550 S.W.3d 8, 12 (Ark. Ct. App.
                 2018).

 Florida         “Appellees’ premise that Appellant had to plead and prove actual damages
                 in order to bring a FDUTPA claim [for civil penalties] is flawed.” State v.
                 Beach Blvd Auto. Inc., 139 So. 3d 380, 394 (Fla. Dist. Ct. App. 2014).

 Idaho           “Actual damage to the public need not be shown to establish a trade
                 practice as unfair or deceptive.” State ex rel. Kidwell v. Master
                 Distributors, Inc., 615 P.2d 116, 123 (Idaho 1980).

 Indiana         In private case, plaintiff’s failure to prove actual damages did not mean
                 that defendant would “escape[] legal liability” because the “attorney
                 general retain[ed] enforcement authority to seek any number of statutory
                 remedies against those that violate the [Indiana DTPA], including
                 obtaining injunctions and securing civil penalties.” Hoosier Contractors,
                 LLC v. Gardner, 212 N.E.3d 1234, 1242 (Ind. 2023).

 Kentucky        “Appellant next argues that the Kentucky Consumer Protection Act
                 requires proof of actual deception of some person in order to find a
                 violation thereof. We find no such requirement in the statute.” Telcom
                 Directories, Inc. v. Com. ex rel. Cowan, 833 S.W.2d 848, 850 (Ky. Ct.
                 App. 1991).

 Louisiana       No express injury requirement when state seeks civil penalties, whereas
                 private action requires “ascertainable loss.” La. Rev. Stat. §1407, §1409.

 Mississippi     No express injury requirement when state seeks civil penalties, whereas
                 private action requires “ascertainable loss.” Miss. Code §§ 75-24-9, -15,
                 -19.

 Missouri        No express injury requirement for action seeking civil penalties. Mo. Stat.
                 §407.100.6.

 Montana         State may seek an injunction and civil penalties only on showing that there
                 is “reason to believe that a person is using, has used, or is about to
                 knowingly use” any act practice declared unlawful under the statute. Mont.
                 Code §30-14-111.


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 Nevada           State can obtain injunction and civil penalties by merely “show[ing] that
                  the statute was violated and that the statute relied upon specifically allows
                  injunctive relief.” State ex rel. Office of Attorney Gen., Bureau of
                  Consumer Prot. v. NOS Comm’ns, Inc., 84 P.3d 1052, 1054 (Nev. 2004).

 North Dakota     Deceptive acts or practices prohibited “whether or not any person has in
                  fact been misled, deceived, or damaged thereby.” N.D. Cent. Code
                  §51-15-02.

 South Carolina   “If the Attorney General determines that an enforcement action ‘would be
                  in the public interest,’ he is statutorily authorized to proceed without
                  making any such showing of injury-in-fact or reliance.” State ex rel.
                  Wilson v. Ortho-McNeil-Janssen Pharms., Inc., 777 S.E.2d 176, 192 (S.C.
                  2015)

 South Dakota     Deceptive acts or practices prohibited “regardless of whether any person
                  has in fact been misled, deceived, or damaged thereby.” S.D. Codified
                  Laws §37-24-6(1).

 Texas            Consumer protection division may bring action for injunction and civil
                  penalties whenever it “has reason to believe that any person is engaging in,
                  has engaged in, or is about to engage in any act or practice declared to be
                  unlawful by this subchapter.” Tex. Bus. & Com. Code §17.47(a).

 Utah             “Actual reliance on the [deceptive] statement need not be shown[.]” State
                  By & Through Div. of Consumer Prot. v. GAF Corp., 760 P.2d 310, 315
                  (Utah 1988).




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